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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 CYNTHIA L. MERLINI,
                                                  Civ. A. No. 1:17-cv-10519-NMG
                Plaintiff,

        vs.

 CANADA,

                Defendant


                                          SUMMONS

To:



       A lawsuit has been filed against you.

        Within 60 days after service of this summons on you (not counting the day you received
it) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff’s attorney, whose name and address are:




      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

                                                     CLERK OF COURT



Date: ____________________                           ________________________________
                                                     Signature of Clerk or Deputy Clerk
